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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


MORRIS BART                               *       CIVIL ACTION NO. 2:19-cv-13062
and                                       *       DEMAND FOR JURY TRIAL
MORRIS BART, LLC                          *
                                          *       SECTION
VERSUS                                    *
CORY WATSON, P.C.                         *       JUDGE: WENDY B. VITTER
                                          *       MAGISTRATE: KAREN WELLS ROBY
*****************************************************************************
                                    MOTION TO DISMISS
       NOW INTO COURT, through undersigned counsel, come Plaintiffs, MORRIS BART

and MORRIS BART, LLC, who move for dismissal of this civil action without prejudice and

with each party to bear its own costs.

                                          Respectfully submitted,

                                          HUBER THOMAS & MARCELLE, LLP


                                          s/Stephen M. Huber
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                                          ASHLEY L.F. BARRIERE, Bar No. 38129
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